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 7
                              UNITED STATES DISTRICT COURT
 8                           EASTERN DISTRICT OF CALIFORNIA
 9
      Scott Johnson,                            Case: 2:14-CV-01352-MCE-KJN
10
                Plaintiff,
11
      v.                                        ORDER [proposed] GRANTING
12                                              JOINT REQUEST TO CONTINUE
      Kamal Thomas;                             SETTLEMENT CONFERENCE
13    Lilly Thomas; and Does 1-10,
14              Defendants.
15
16
17
           Good cause having been shown, the Court hereby grants the parties’
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     request to continue the Settlement Conference. The Settlement Conference will
19   be held on December 8, 2016 at 10:00 a.m. in Courtroom No. 8, 13th Floor.
20         The parties are directed to submit confidential settlement conference
21   statements via e-mail (efborders@caed.uscourts.gov) to chambers seven (7)
22   days prior to the settlement conference. Such statements are neither to be filed
23   with the clerk nor served on opposing counsel. However, each party shall e-file a
24   one page document entitled Notice of Submission of Confidential Settlement
25   Conference Statement. The parties may agree, or not, to serve each other with

26   the settlement statements.

27         Each party is reminded of the requirement that it be represented in person
     at the settlement conference by a person able to dispose of the case or fully
28




     Order
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 1   authorized to settle the matter at the settlement conference on any terms. See
     Local Rule 270.
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 3   Dated: June 7, 2016
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     Order
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